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                           UNITED STATES DISTRICT COURT
                                  District of Minnesota
                              Criminal No. 20-193(2) (MJD)

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                      GOVERNMENT’S POSITION
                   v.
                                                         ON SENTENCING
 BENJAMIN RYAN TEETER,

                        Defendant.

________________________________________________________________________

“It’s the first rule of [UI] a domestic terrorist - always have a way to light something on
fire.” – Defendant Benjamin Ryan Teeter –recorded on August 29, 2020.
________________________________________________________________________

       The United States of America, through its attorneys, W. Anders Folk, Acting United

States Attorney for the District of Minnesota, and Assistant United States Attorney Andrew

R. Winter, respectfully submits its Sentencing Position in this case. After consideration of

all the facts of this case, as well as the United States Sentencing Guidelines (hereinafter the

“U.S.S.G.”), and the factors set forth at Title 18, United States Code, § 3553(a), the United

States believes that a sentence of 240 months’ imprisonment, followed by a lifetime of

supervised release, is sufficient, but not greater than necessary, to achieve justice in the

sentencing of this defendant.

       I.     INTRODUCTION

       On December 16, 2020, Defendant Benjamin Ryan Teeter (“Defendant”) pled guilty

to Conspiracy to Provide Material Support to a Designated Foreign Terrorist Organization

in violation of 18 U.S.C. § 2339B(a)(1). Presentence Report (“PSR”), ¶ 2. Defendant’s
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guideline range is 360 months to life, however the statutorily authorized maximum

sentence is 240 months. The government believes an examination of the factors set forth

in 18 USC Section 3553(a) leads to the conclusion that 240 months is a fair and appropriate

sentence in this case.

       II.    FACTS OF THE CASE

       Defendant pleaded guilty to conspiring to provide material support to Hamas.

Defendant, along with his co-defendant Michael Robert Solomon (“Solomon”), sought an

alliance with a foreign terrorist organization with the goal of financing their domestic

anarchist group, the “Boogaloo Bois.” Throughout the summer of 2020, both Defendants

voiced their desire to grow their anti-government organization, to engage violently with

police, and to destroy legitimate forms of government in the United States. Defendant and

Solomon then supplied homemade firearms suppressors and 3D-printed auto-sears 1 to

persons they believed were members of Hamas with the understanding that the devices

would be used to kill American service members overseas.

              A. Background

       Prior to the murder of George Floyd on May 26, 2020, 2 Defendant and Solomon

were members of the Boogaloo Bois – a loosely-organized, anti-government, pro-gun, and

extremist political movement in the United States. Boogaloo adherents say they are

preparing for, or seek to incite, a second American Civil War, which they call the



1
  An “auto sear” is a device designed to convert a semi-automatic rifle into a fully automatic
weapon.
2
  All dates referenced below occurred in 2020.
                                              2
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‘Boogaloo.’ The Boogaloo movement organizes primarily online and its participants have

appeared at in-person events, including the 2020 United States anti-lockdown protests and

the protests taking place in the aftermath of the murder of George Floyd. Heavily armed,

Boogaloo members are often identified by their attire of Hawaiian shirts and tactical

clothing. On June 28, Defendant explained, “I fall into [a] group, [who] would like to

completely remove the government, then just start over…our goal is to…tear it down…And

that’s why we wanna fight.” PSR, ¶ 30.

              B. “Lock and load boys – Boog flags are in the air…”

        One day after George Floyd’s murder, Defendant’s co-conspirator Solomon reached

out to the Boogaloo Bois community on Facebook with a call to action: “I need a

headcount. If you’re (sic) you have keybase 3 message me on there ‘bigboogboi’ if not

[private message] me.” PSR, ¶ 10. That same day, Defendant posted on his Facebook

account, “Lock and load boys. Boog flags are in the air, and the national network is going

off.” Id. Defendant then traveled from North Carolina to Minnesota to meet Solomon and

the other Boogaloo Bois bent on capitalizing on the civil unrest. Defendant would later

explain in a media interview, “if the police start shooting, we’re gonna shoot back.” PSR,

¶ 27.

        Within hours of reaching the Twin Cities, Defendant joined Solomon at the

epicenter of the unfolding chaos. As the Minneapolis Police Department’s Third Precinct




3
  “Keybase” is a secure messaging and file sharing service that utilizes end-to-end
encryption.
                                            3
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building burned nearby, Defendant, Solomon, and their fellow Boogaloo Bois – all armed

with rifles – posed for a photograph 4 in front of the freshly-looted Cub Foods store:




       During the civil unrest in the Twin Cities, Defendant and Solomon portrayed

themselves to media outlets as protectors. 5 However, their private conversations revealed

far more dangerous goals. Indeed, within days of Defendant’s rendezvous with Solomon,

their talk of violent anarchy was brought to the attention of law enforcement when a

concerned citizen reported that both were openly discussing their desire to overthrow the

government and commit acts of violence against law enforcement. 6 PSR ¶ 11.


4
  On June 6, Solomon posted this image on his Facebook page titled “Mike Soloboog.” In
the photograph, Defendant appears third from the right and Solomon is third from the left.
That same day, as he loaded ammunition into a firearm, Solomon told the CHS “most likely,
shit we’re doing we don’t want our fingerprints on our shit.” CHS recording from June 6.
5
  When Defendant spoke to CNN, he claimed his mission in Minneapolis was to protect
protesters and that “[w]e’re just a group that believes in ultimate, personal freedoms, as
long as you’re not hurting anybody else…”. PSR, ¶ 24. In an interview with the United
Kingdom’s Daily Mail, Solomon stated, “[o]ur whole thing is, we believe in freedom and
absolute liberty for everyone regardless of race, creed, sex, gender, whatever; we don’t
care.” PSR, ¶ 28.
6
  Early in the investigation, Defendant told a witness that he had a connection within the
National Guard who would support the Boogaloo Bois if a siege occurred. A recorded
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       Simultaneously, a confidential human source (“CHS”) had identified Defendant and

Solomon as persons of concern. By June 6, the Solomon had invited the CHS to meet with

him and other Boogaloo Bois in person. PSR, ¶ 12. The CHS’ ethnicity, accent, and

knowledge of the conflict in Palestine led Defendant and Solomon to conclude that the

CHS was a member of Hamas. 7 Defendant and Solomon immediately began to market

themselves and the Boogaloo Bois organization to Hamas with the aim of obtaining

funding for their growing group of armed extremists. Solomon insisted, “to you and your

friends, we’ve got to be pretty valuable because [we are] two American-born white boys,

right? We can move around like nothing. I can take anything anywhere.” Solomon would

later urge the CHS, “we need an investment in this partnership.” PSR, ¶ 15.




conversation a short time later further confirmed their true intentions. Unaware that he was
being recorded, Solomon explained,“[i]f we get to the point where we engage the police,
[UI]. I’m not going to stop...I’m going to take out whoever initiated the violence, and then
I’m going to hang out in the area,…move and set up in a better location…and then I’m
going to take out the next thing that shows up. And I’m going to keep going until I’m not
taking out people anymore. [I]f I get into a firefight, I’m getting into a firefight until I can’t
fight anymore. If I run out of ammo, I’ll go to court.” In this same conversation, Defendant
stated, “[t]his is mercenary protocol…If I have to shoot someone I’m not going to call the
cops and stick around.” CHS recording from June 6.
7
  After discussing the fact that the Boogaloo Bois’ views aligned with “freedom fighter
groups,” the CHS asked Defendant and Solomon what organization they thought he was
affiliated with. Solomon responded, “[m]y guess would be starts with an “H,” just from
how you talk about Palestine…So it starts with an “H”.” CHS recording from June 8.
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              C. Defendants seek to “make a statement”

       As an entrée to this new partnership, Defendant and Solomon proposed blowing up

a historic courthouse. Conceived as a “statement” to benefit both the Boogaloo Bois and

Hamas, the numerous discussions surrounding the plot were explicit. On one occasion,

Defendant stated, “I’m working on calculating the exact amounts of the explosive stuff

needed for [the destruction of a courthouse], but I’m ready to go… I should be able to pull

up schematics on the courthouse pretty easily and figure out the exact size.” Defendant

further suggested he was willing to die or be imprisoned for Boogaloo Bois’ cause: “all I

have to lose is myself. I’m willing to lose that…”. PSR, ¶ 13. Later, Defendant would

reiterate, “[t]hat’s why the mission with the explosives is my mission…I don’t have any

connections that I’m worried about losing.” PSR, ¶ 30.

       Though Solomon was not present for some of these discussions, he reassured the

CHS that “we’re [Solomon and Defendant] kind of the same entity, right? So if one of us

isn’t there…I think you’d agree that I can speak for [Defendant]…and if I’m not there, he

can speak for me…We’re on the same page.” PSR, ¶ 15. While Defendant and Solomon

talked about murdering politicians and journalists 8 as another way of making a statement,


8
  On June 28, Solomon told the CHS, “[w]ell, for the future, I’d build a gallows in front of
the…Congress building in D.C. and just start hanging politicians left and right.” On
August 12, both Defendant and Solomon discussed the murder of U.S. senators during a
recorded conversation with the CHS. Solomon stated, “I want to, like, take down twenty
senators while they’re playing fucking baseball, right?...I don’t want to blow up a
courthouse. I want to murder a bunch of U.S. politicians. That’s the statement I want to
make.” In reference to politicians hiring security, Defendant then boasted, “you can’t stop
threats that you can’t see. I shoot precision long-range bolt rifles. I, I do most of my
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the plot to destroy a courthouse would later be replaced by Defendant’s and Solomon’s

scheme to supply weaponry to Hamas. 9

              D. Defendants build and supply suppressors to Hamas

       On June 28, the CHS introduced Defendant and Solomon to an FBI employee

posing as a more senior member of Hamas. PSR, ¶ 15. During this meeting, Defendant and

Solomon continued to market themselves as valuable assets to the terrorist organization.

Solomon told the men, “…we have a lot of things that we can do…we can move around

really freely and…unnoticed. We have…a lot of training and a lot of knowledge. But I’m

also a redneck, nobody notices a redneck. But basically, we’ve got the ideas, we’ve

got…training and we’ve got knowledge.” Defendant added, “and we have a network.”

Defendant and Solomon also spoke glowingly of their ability to arm Hamas, insisting they

could “purchase any guns we want,” “create unregistered and untraceable weapons,” and

to “make ‘em fully automatic if you’d like.” Defendant also pitched, “we have Boog Bois

across the country who we could use as a network to move [weapons] around. It’s

definitely something we’d be capable of.”

       Defendant and Solomon then purchased a drill press from a local hardware store

and obtained the remaining parts necessary to build suppressors from an online source.

After setting up the tools in Solomon’s garage, they manufactured the first batch of


shooting beyond half a mile. And I can easily, with a well-equipped rifle, shoot to fifteen
hundred yards.”
9
  On August 6, Defendants explained their rationale for putting off the plot to blow up a
courthouse. Defendants stated they instead preferred to execute a larger plot. As an
example of such a larger plot, they suggested the murder of U.S. senators.

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suppressors and presented the five devices to the CHS on July 17. At that time, both

Defendant and Solomon were explicitly told that the devices would be “combat-tested” by

the militant wing of Hamas. PSR, ¶ 17. Furthermore, when the suppressors were later

delivered to the CHS and his “boss” 10 Defendant and Solomon explained in detail how the

devices would assist Hamas members in combat by reducing noise and muzzle flash. This,

Defendants explained, would allow Hamas fighters to attack more effectively from

concealed positions. PSR, ¶ 18.

       Removing any doubt about the end-use of their devices, Defendants were shown a

video in which their suppressors were portrayed as being used by overseas members of

Hamas. PSR, ¶ 19. Pleased with the images in the video, Defendant and Solomon turned

the discussion to expanding the partnership with Hamas. To that end, the Defendant and

Solomon proposed opening a business as a front to a suppressor-manufacturing operation

supplying both Boogaloo Bois and the terrorist organization. 11 Solomon suggested a sham

maintenance shop as the “perfect cover” because – unlike a tobacco shop – there would be

no government oversight and, thus, less chance that the illicit nature of their business would

be uncovered by law enforcement. Id. Both Defendants were prepared, however, to offer

the terrorist organization a “steep discount” on their products. Id.




10
    This individual was an FBI undercover employee (UCE) introduced to Defendants by
the CHS and presented as a more senior member of Hamas.
11
   Early on in this conspiracy, Solomon assured the CHS that he would conceal Hamas’
involvement in the suppressor-manufacturing project. On June 17, Solomon told the CHS
“If we decided to make a bunch of these…with other guys from our movement…we
wouldn’t even mention you guys. It would just be like ‘we’re making these’.”
                                              8
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               E. Defendants supply auto-sears to Hamas

         After boasting early on about their ability to make fully automatic weapons (PSR,

¶16), Defendants delivered. Through a website maintained by a Boogaloo Bois contact,12

Defendant and Solomon ordered several 3D-printed auto-sears, then brought one to the

August 29 meeting for a demonstration with the CHS and UCE. Frustrated that the device

didn’t seat properly in a rifle, Solomon assured his new partners that he had another five

devices on order. PSR, ¶ 20. 13 Defendant added, “I will be so excited to produce [auto

sears] in-house instead of having to deal with other people….” Defendant advised his

partners to first use an auto-sear in combat: “I would say use one for the first time for

combat and then just for training maybe after that until you know how long they last.” The

CHS told Defendants it would be sufficient if the auto-sears worked long enough to “kill

2-3 American soldiers, 2-3 Israeli soldiers,” to which Solomon replied, “yeah.” As the four

men wrapped up this meeting, the CHS asked for a lighter. Defendant offered his stating,

“[i]t’s the first rule of [UI] a domestic terrorist - always have a way to light something on

fire.”




12
   In reference to the website selling the auto-sears, Defendant explained “[i]t’s a Boog
Bois who runs this, right. So he’s… knows exactly what he’s selling. He knows who’s
buying and he’s okay with that.” CHS recording from August 29.
13
   Solomon had ordered five (5) additional auto sears from Wallhangers.com. Agents
obtained a search warrant for a parcel addressed to Solomon’s house and recovered the
devices contemporaneous to his arrest.
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              F. Defendants arrested; residences searched

       On September 3, Defendant and Solomon drove to a park to meet with the CHS.

Both men believed they were going to spend the afternoon looking for rental property for

their suppressor-manufacturing operation. Solomon, armed with a 9mm handgun, and

Defendant, carrying a .25 caliber handgun, walked unsuspectingly to the meet location

where they were arrested by FBI agents. From Solomon’s truck, agents recovered

Boogaloo patches and coffee mugs, a pair of handcuffs, a magazine for an AK-47, and 60

rounds of 5.56 rifle ammunition.

       Back in Defendant’s hotel room, agents recovered five loaded rifle magazines, a

tactical vest, an AR-15 assault rifle, loaded pistol magazines, bear spray, machine tooling

notes, a handheld radio, a Buck knife, a tactical knife, a gun diagram, a baton, and a gas

mask. Agents also searched Solomon’s New Brighton home. There, they recovered three

loaded assault rifles, 14 a Boojahideen t-shirt, a Boogaloo flag, a .44 revolver, a tactical vest

with plates, a ballistic helmet, multiple separate loaded rifle magazines, a package for a

drop-in auto sear, plus equipment for manufacturing suppressors. The FBI also intercepted

two parcels addressed to Solomon. One contained five (5) auto-sears and the other five (5)

more solvent traps to make additional suppressors.




14
  One of these assault rifles – an AK-47 – was confirmed through testing to have been
used by a fellow Boogaloo Bois, Ivan Hunter, to shoot into the Third Precinct building on
the night of May 28, 2020. Hunter has been indicted separately for this conduct. See United
States v. Ivan Harrison Hunter, 20-cr-250 (MJD/ECW).
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       III.   THE REPORT OF PRESENTENCE INVESTIGATION

       The United States has no objections to the factual assertions in the PSR. The PSR

calculates a base offense level of 26 for Count 1. PSR, ¶ 45. The parties agree that the

terrorism adjustment of U.S.S.G. § 3A1.4 applies to the count of conviction, resulting in a

12-level increase in offense level and a criminal history of Category VI. PSR, ¶ 4. The PSR

also concluded that a two-level increase applies because the offense also involved the

provision of dangerous weapons, firearms, or explosives; or other material support or

resources with the intent that they would be used to commit or assist in the commission of

a violent act. 15 See U.S.S.G. § 2M5.3(b)(1); PSR, ¶ 46. To date, Defendant has earned a

three-level reduction for promptly pleading guilty and accepting responsibility for his

crimes. PSR, ¶ 52. The resulting range of 360 months to life exceeds the statutory

maximum sentence of 240 months for a violation of 18 U.S.C. § 2339B. As such, the

guidelines range is fixed at 240 months. PSR, ¶ 102.

       IV.    ARGUMENT

       In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth the

appropriate sentencing methodology: the district court calculates the advisory Guidelines

range and, after hearing from the parties, considers the 18 U.S.C. § 3553(a) factors to

determine an appropriate sentence. 552 U.S. at 49-50; United States v. Ruvalcava-Perez,



15
   Defendant has objected to the application of this enhancement. The government notes
that the facts supporting this enhancement were admitted as part of his guilty plea. Whether
or not the Court applies § 2M5.3(b)(1), the guidelines remain 240 months.
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561 F.3d 883, 886 (8th Cir. 2009) (“In sentencing a defendant, the district court should first

determine the appropriate Guidelines range, then evaluate whether a traditional departure

is warranted, and finally decide whether or not to impose a guideline sentence after

considering all the § 3553(a) sentencing factors.”).

       Section 3553(a) requires the Court to analyze a number of factors, including, “the

nature and circumstances of the offense,” “the history and characteristics of the defendant,”

“the need for the sentence to reflect the seriousness of the offense,” “the need for

deterrence,” “the need to protect the public from further crimes of the defendant,” and “the

need to avoid unwarranted disparities.” 18 U.S.C. § 3553(a).

       A.     Nature and Circumstances of the Offense

       That his extremist ideology would serve to knowingly facilitate the deaths of U.S.

citizens overseas is indeed cause for a lengthy sentence in this case. Defendant was wholly

undeterred by his full understanding that the suppressors and auto-sears he and Solomon

supplied were to be used on the battlefield against his fellow citizens. Further, the lengths

to which Defendant went to support a foreign terrorist organization – all with the aim of

financing and expanding a violent domestic extremist organization – is truly disturbing.

Though presented with multiple opportunities to take a different path, Defendant eagerly

persisted in the planning and execution of a plot to supply weaponry to what he believed

was a foreign terrorist organization.

       B.     History and Characteristics of the Defendant

       The history and characteristics of Defendant documented in the PSR do little to

explain the criminal conduct in this case. Defendant was homeschooled in North Carolina

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and continues to maintain ties with his family. PSR ¶ ¶ 73-83. Defendant is physically

healthy and does not appear to struggle with any form of chemical dependency. PSR ¶ ¶ 84-

86. His infrequent brushes with the criminal justice system are minor (PSR ¶ ¶ 59-70) but

do include a 2019 incident in which he recklessly handled a firearm and discharging bullet

round into an adjacent apartment. Although he faced challenges in his personal life, none

appear to explain Defendant’s turn to an extremist ideology and the resulting criminal

conduct in this case.

       C.     Promoting Respect for the Law and Providing Just Punishment
              for the Offense

       Defendant stands before the court convicted of one of the most serious crimes in the

federal criminal code. In fact, the Supreme Court has recognized combating terrorism as

“an urgent objective of the highest order.” Holder v. Humanitarian Law Project, 561 U.S.

1, 130 S. Ct. 2705, 2724 (2010). The seriousness of the offense is adequately reflected in a

20-year sentence, as is respect for the law and just punishment. Respect for the law is a

particularly important factor in this case beyond just Defendant himself. A serious sentence

is needed to promote respect for the law, not just for Defendant, but for others who would

support him, his well-armed anarchist cause, and his efforts to undermine local, state, and

federal governments.

       D.     Deterrence and Protecting the Public

       Terrorism, being motivated by fanaticism, is difficult to deter. The effort must

nevertheless be made. The recommended sentence in this case is needed for both individual

and general deterrence, and to furthermore protect the public from Defendant’s dangerous


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ideology and behavior. Individual deterrence discourages a defendant from committing

such a crime in the future. Whether Defendant is deterred will depend, in part, on whether

he can successfully loosen his grip on radical thought and action.

       General deterrence is necessary to deter other people from committing similar

crimes. “Congress specifically made general deterrence an appropriate consideration . . .,

and we have described it as ‘one of the key purposes of sentencing.’” Ferguson v. United

States, 623 F.3d 627, 632 (8th Cir. 2010) (quoting United States v. Medearis, 451 F.3d 918,

920 (8th Cir. 2006)). General deterrence is necessary to impress upon the greater

community that no matter the circumstances, aiding a designated terrorist organization –

no matter what the purpose – has dire consequences. A substantial sentence is necessary

to deter individuals from supporting international terrorism in any form or under any

circumstances.

       The need for a sentence that protects the public is plainly evidenced by Defendant’s

conduct and words in this case. His willingness to aid in a plot to blow up a courthouse,

his spoken desire to assassinate politicians and journalists, and his provision of silencers

and auto-sears to individuals he believed were members of Hamas for use against American

service-members all speak to the danger represented and the appropriateness of the

requested sentence.

       E.     The need to provide the defendant with needed educational or
              vocational training, medical care, or other correctional treatment

       Where Defendant stands on a spectrum of deradicalization is uncertain. The

government will, of course, support Defendant receiving any programming offered by the


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Bureau of Prisons that will reduce the risk he represents to the public when he is eventually

released from prison. The sentence recommended by the government will allow sufficient

time for professionals to work towards stabilizing Defendant’s extremist ideology and

promoting his law-abiding conduct in the future.

              G. The need to avoid unwarranted sentencing disparities

       The recommended sentence would not create an unwarranted disparity. In the

District of Minnesota and elsewhere, courts have imposed lengthy sentences on offenders

who have conspired or attempted to provide material support to designated foreign terrorist

organizations. Be it al Shabaab, ISIS, al Qaeda, or Hamas, there are similarities to be

found in these cases, despite the unique nature of the facts presented in this case. Like the

case at bar, defendants with little to no criminal history have attempted or conspired to

provide material support to terrorist organizations from all over the world. Most have

offered themselves in support of those deadly organizations but here, Defendant offered

his specialized knowledge, his skills, his access to weaponry, and ultimately – as he stated

– his own life: “all I have to lose is myself. I’m willing to lose that…”. PSR, ¶ 13.

       Unlike some others, this case is not limited to a single attempt to travel overseas to

join a foreign terrorist organization. Instead, Defendant’s case involves efforts over the

course of months to forge an alliance between the Boogaloo Bois and Hamas. Convinced

they were ideologically aligned, Defendant sought to capitalize on his knowledge of

firearms, silencers, and machine guns, and on what he believed was the terrorist

organization’s need for that weaponry. While the government is fully cognizant of the fact

that Defendant was not, in fact, dealing with members of Hamas, the Defendant believed

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he was. The threat to public safety represented by his conduct and his radicalized beliefs is

no less significant, and thus, nor should the sentence be less significant.

       V.     CONCLUSION

       For all these reasons, the United States respectfully asks this Court to sentence

Defendant Benjamin Ryan Teeter to a term of imprisonment of 240 months, followed by

lifetime supervised release.



Dated: September 20, 2021                  Respectfully submitted,

                                           W. ANDERS FOLK
                                           Acting United States Attorney

                                           s/ Andrew R. Winter

                                           BY: ANDREW R. WINTER
                                           Assistant United States Attorney
                                           Attorney ID No. 232531




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